          Case 1:15-cv-05871-KPF Document 3 Filed 08/06/15 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KELLY PRICE,

                        Plaintiff,
                                                                 15-CV-5871
                 -against-
                                                  ORDER GRANTING IFP APPLICATION
DETECTIVE LINDA SIMMONS ET AL.,

                        Defendants.

LORETTA A. PRESKA, Chief United States District Judge:

      Leave to proceed in this Court without prepayment of fees is authorized. See 28 U.S.C.

§ 1915.

SO ORDERED.

Dated: August 6, 2015
       New York, New York
